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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:- Chapter 11

PATRIOT NATIONAL, INC., et al.,' Case No. 18-101 89 (KG)

Debtors. (Jointly Administered)

RE: D.I. 382 & 473
OBJECTION OF STARSTONE NATIONAL INSURANCE COMPANY
TO PROPOSED CURE AMOUNT AND
RESPONSE TO PLAN OF REORGANIZATION
StarStone National Insurance Company f/k/a Torus National. Insurance Company
(“StarStone”) hereby submits this objection (the “Objection”) to the cure amount listed in the
Assumption Schedule [D.I. 473~5] (“Assu_mption Schedule”) and in response to the Debtors'

Plan.2 In support thereof, StarStone respectfully States as follows:

BACKGROUND

' --\ l. On or about April 14, 2014, Patriot entered into a Broker Agreement (“Broker

Agreement”) With Torus U.S. Services, Inc. (“Torus US”), as servicing agent for Torus Specialty

lnsurance Company (“Torus Specialt}§”) and Torus National Insurance Company (“Torus

 

l The Debtors in these Chapter ll Cases, along With the last four digits of each Debtors' federal tax
identification number, are: Patriot Nationa], Inc. (]376), Patriot Services, LLC (1695)', TriGen
lnsurance Solutions, Inc. (2501); Patriot Captive Management, LLC (2341); Patriot Underwriters,
Inc. (0045); TriGen Hospitality Group, Inc. (6557); Patriot Risk Consultants, LLC (0844); Patriot
Audit Ser'vices, LLC (5793); Patriot Clairn Services, Inc. (9147); Patriot Risk Services, lnc. (7189);
Corporate Claims Management, Inc. (6760); CW (Benetits, Inc. (0204); Forza Lien, LLC (7153);
Contego Investigative Services, Inc. (0330); Contego Services Group, LLC (0012); Patriot Care
Management, LLC (2808); Radar Post~Closing Holding Company, Inc. (2049); Patriot Technology
Solutions, LLC (6855); and Decision UR, LLC (1826). The Debtors' headquarters are located at
401 East Las Olas Boulevard, Suite 1650, Fcrt Lauderdale, Florida 33301.
2 Debtors ' Second Amended Joint Chapter 11 Plan ofReorganizatz'on [D.I. 382] (“Pl_*_;,_an”).

 

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Monal”) pursuant to Which Patriot Was authorized to place contracts of insurance with Torus
Specialty and Torus National. Torus National lnsurance Company changed its name to
StarStone National Insurance Company on or about September 2], 2015.

2. Pursuant to the Broker Agreement, StarStone Would issue policies on behalf of
Patriot. StarStone Would receive premiums and then pay commissions to Patriot. In the ordinary
course of business, each month, StarStone would setoff amounts StarStone owed Patriot against
amounts Patriot owed to StarStone, and then issue an invoice if Patriot owed StarStone a net
amount. If StarStone owed Patriot, however, StarStone Would issue a check to Patriot.

3. That practice stopped when Patriot filed for bankruptcy protection on January 30,
2018, As of the petition date, Patriot owed StarStone $197,950.63 while StarStone owed Patriot
$137,059.83 with respect to Workers’ compensation policies. Applying the setoff in accordance
with the ordinary course of business, common law setoff rights, and the parties’ agreements, the
net result is that Patriot owes StarStone $60,890.80. Additionally, as of the petition date, Patriot
owed StarStone $116,911.72 with respect to non-Workers’ compensation policiesl

4. StarStone filed a proof of claim reflecting these amountsl See Proof of Claim
#182. N.o objection to the proof of claim has been filed.

5. On March 14, 2018, the Debtors filed their Second Amended Plan. Pursuant to
the Plan, “except for the Executory Contracts and Unexpired Leases listed on the Assumption
Schedule,” executory contracts are being rejected. Plan Article VII.A.l. On March 3(), 2018, the
Debtors filed the Assumption Schedule [D.I. 473-5].” The Broker Agreement is identified as an

executory contract to be assumed:

 

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Row Debtor Party to the Non-Debtor Counterparty Counterparty Agreement Proposed
No. Agreement to the Agreement Address Cure
255. Patriot Underwriters, Torus U.S. Services, Inc. 190 South_ LaSalle Broker $0.00
Inc. Suite 1400 Agreement
Chicago, IL 60603

 

 

 

 

 

 

Assumption Notice p. 27.
OBJECTION

6. StarStone does not object to assumption of the Broker Agreement. However, the
Assumption Schedule lists the incorrect cure amount. The “Proposed Cure” is listed as $0.00
rather than the amounts owed to StarStone.

7. StarStone is currently in discussions with the Debtors in an attempt to reconcile
the amount due and is hopeful the parties can reach a resolution. However, in the absence of an
agreement, StarStone files this Objection in order to fully reserve its rights and remedies in the
matter.

8. The Bankruptcy Code provides that, if there has been a default in an executory
contract, the debtor may not assume such executory contract unless, at the time of assumption,
the debtor “cures, or provides adequate assurance that [it] will promptly cure, such default.” ll
U.S.C. § 365(b)(1).

9. Here, as set forth above, the Debtors owe StarStone 3197,950.63 with respect to
workers compensation policies and $116,911.72 with respect to other than workers
compensation policies. Thus, the cure amount should be listed as $314,862.35. However,
StarStone does not oppose assumption of the Broker Agreement such that Patriot would not
make a full payment of that amount immediately. StarStone is agreeable to assumption Whereby

the parties would return to their ordinary course of business where amounts owed by one are set

 

 

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off against amounts owed by the other, regardless of when those amount arose, such that Patriot
Would only pay any net balance due in the ordinary course of the parties’ business
RESERVATION OF RIGHTS

10. Pursuant to the Plan, the injunction will prevent the exercise of setoff rights or
subrogation rights “unless such Person has timely asserted such setoff or subrogation right prior
to Conflrrnation in a document filed with the Bankruptcy Court explicitly preserving such setoff
or subrogation.” Plan Article XI.I.

11. StarStone explicitly reserved its setoff rights in the proof of claim it filed. For the
avoidance of doubt, StarStone explicitly asserts and preserves all rights to setoff, recoupment
and/or subrogation.

12. StarStone reserves the right to raise any further objection to the proposed
Assumption and cure of agreements to which it is a counterparty and to raise any objection to the
Plan and to assert that further amounts are due and owing post-petition that must be cured.

WHEREFORE, StarStone requests that the Court (i) find that the cure amount is
$314,862.35, (ii) authorize assumption of the Broker Agreement, (iii) authorize StarStone and
the Debtors to continue to exercise setoff in the ordinary course of business, regardless of When
such amounts arose, including with respect to the cure amount, and (iv) grant such further relief
as the Court deems just and proper.

Dated: April 20, 2018 ELLIOTT GREENLEAF, P.C.
Wilmington, Delaware

  

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